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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division


DARRICK M.ALEXANDER,

        Plaintiff,

V.                                               Civil Action No. 3:20CV728-HEH


COMMONWEALTH OF VIRGINIA,

        Defendant.


                             MEMORANDUM OPINION
                        (Dismissing Action Without Prejudice)

        By Memorandum Order entered on September 30, 2020, the Court directed

Plaintiffto complete the forms for either a 28 U.S.C. § 2254 petition or a 42 U.S.C.

§ 1983 action and return the same to the Court within fifteen(15)days ofthe date of

entry thereof. The Court explained that the failure to complete an appropriate form and

return the same to the Court within that time would result in the dismissal ofthe action.

See Fed. R. Civ. P. 41(b). More than fifteen(15)days have elapsed and Plaintiff has not

returned a form or otherwise responded to the Court's Memorandum Order issued on

September 30,2020. Plaintiffs conduct demonstrates a willful failure to prosecute. See

Fed. R. Civ. P. 41(b). Accordingly, this action will be DISMISSED WITHOUT

PREJUDICE.


        An appropriate Order shall accompany this Memorandum Opinion.

                                                           /s/
                                  HENRY E. HUDSON
Date:                              SENIOR UNITED STATES DISTRICT JUDGE
Richmond, Virginia
